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 Fill in this information to identify the case:

             Greylock Capital Associates, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _


                                                 Southern
 United States Bankruptcy Court f or the: _______________________             New York
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):               21-22063
                                      _________________________


                                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                                  amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                        12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                  0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:
                                                                                                                                                                                                  1,686,191.04
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                $ 1,686,191.04
                                                                                                                                                                                                  ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                    0.00
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                    0.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +     825,662.70
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  825,662.70
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                                      2 of 19
  Fill in this information to identify the case:

              Greylock Capital Associates, LLC
  Debtor name __________________________________________________________________

                                                Southern
  United States Bankruptcy Court for the:_______________________             New York
                                                                 District of ________
                                                                             (State)
  Case number (If known):     21-22063
                              _________________________                                                                                  Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?
    X     No. Go to Part 2.
          Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
        Citibank, N.A.
   3.1. _________________________________________________        Checking
                                                          ______________________                 0 ____
                                                                                                ____   2 ____
                                                                                                          9 ____
                                                                                                              8                     235,946.47
                                                                                                                                  $______________________
        Citibank, N.A.
   3.2. _________________________________________________        Savings
                                                          ______________________                 0
                                                                                                ____  3 ____
                                                                                                     ____ 0 ____
                                                                                                              0                     198.49
                                                                                                                                  $______________________
          First Republic Bank                                          Checking                     4   0     2     3             $ 282,839.39
4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
                                                                                                                                   518,984.36
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
    X     Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. First Republic Bank letter of credit (security for lease at 285 Madison Avenue, 24th Floor)
        ________________________________________________________________________________________________________                    456,003.75
                                                                                                                                   $______________________
       Citibank, N.A. letter of credit (security for lease at 285 Madison Avenue, 24th Floor)
   7.2._________________________________________________________________________________________________________                    0.00
                                                                                                                                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets         Real and Personal Property                              page 1
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Debtor          Greylock Capital Associates, LLC                    3 of
                _______________________________________________________     19                               21-22063
                                                                                      Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                  $______________________
   8.2.___________________________________________________________________________________________________________                  $_______________________

9. Total of Part 2.
                                                                                                                                    456,003.75
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:     Accounts receivable

10. Does the debtor have any accounts receivable?
     X No. Go to Part 4.

          Yes. Fill in the information below.
                                                                                                                                    Current value of debtor’s
                                                                                                                                    interest
11. Accounts receivable

    11a. 90 days old or less:     ____________________________ – ___________________________          = ........                   $______________________
                                   face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________           = ........                   $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                   $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:     Investments

13. Does the debtor own any investments?
    X No. Go to Part 5.

          Yes. Fill in the information below.
                                                                                                          Valuation method          Current value of debtor’s
                                                                                                          used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________                 _____________________    $________________________
   14.2. ________________________________________________________________________________                 _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                  % of ownership:

   15.1._______________________________________________________________             ________%             _____________________    $________________________
   15.2._______________________________________________________________             ________%             _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:

   16.1.________________________________________________________________________________                  ______________________   $_______________________
   16.2.________________________________________________________________________________                  ______________________   $_______________________



17. Total of Part 4
                                                                                                                                   $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets       Real and Personal Property                              page 2
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Debtor           Greylock Capital Associates, LLC
                 _______________________________________________________4 of 19                              21-22063
                                                                                      Case number (if known)_____________________________________
                 Name




Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    X No. Go to Part 6.

          Yes. Fill in the information below.

     General description                            Date of the last        Net book value of     Valuation method used     Current value of
                                                    physical inventory      debtor's interest     for current value         debtor’s interest
                                                                            (Where available)
19. Raw materials
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                            $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                            $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                            $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                            $__________________   ______________________


23. Total of Part 5                                                                                                        $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________       Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    X No. Go to Part 7.

          Yes. Fill in the information below.

      General description                                                    Net book value of    Valuation method used     Current value of debtor’s
                                                                             debtor's interest    for current value         interest
                                                                             (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________             $________________    ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________             $________________    ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________             $________________    ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________             $________________    ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
   ______________________________________________________________             $________________    ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets       Real and Personal Property                         page 3
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Debtor          Greylock Capital Associates, LLC                    5 of
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                Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

          No
          Yes. Is any of the debtor’s property stored at the cooperative?

                No
                Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

          No
          Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

          No
          Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

          No
          Yes



Part 7:     Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          No. Go to Part 8.
     X Yes. Fill in the information below.


   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________    ____________________    $______________________

40. Office fixtures

   ______________________________________________________________              $________________    ____________________    $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    Computers (workstations, monitors)
   ______________________________________________________________              $________________    ____________________     56,202.93
                                                                                                                            $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________     ____________________   $______________________
   42.2___________________________________________________________             $________________     ____________________   $______________________
   42.3___________________________________________________________             $________________     ____________________   $______________________

43. Total of Part 7.
                                                                                                                             56,202.93
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
     X No
          Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     X No
          Yes


Official Form 206A/B                                        Schedule A/B: Assets      Real and Personal Property                         page 4
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 Debtor          Greylock Capital Associates, LLC                    6 of
                 _______________________________________________________ 19                               21-22063
                                                                                   Case number (if known)_____________________________________
                 Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
     X No. Go to Part 9.

          Yes. Fill in the information below.


   General description                                                     Net book value of     Valuation method used    Current value of
                                                                           debtor's interest     for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________     ____________________   $______________________

   47.2___________________________________________________________          $________________     ____________________   $______________________

   47.3___________________________________________________________          $________________     ____________________   $______________________

   47.4___________________________________________________________          $________________     ____________________   $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________      ____________________   $______________________

   48.2__________________________________________________________          $________________      ____________________   $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________      ____________________   $______________________

   49.2__________________________________________________________          $________________      ____________________   $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________      ____________________   $______________________


51. Total of Part 8.
                                                                                                                         $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes




 Official Form 206A/B                                     Schedule A/B: Assets     Real and Personal Property                       page 5
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Debtor           Greylock Capital Associates, LLC                    7 of
                 _______________________________________________________     19                               21-22063
                                                                                       Case number (if known)_____________________________________
                 Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
          No. Go to Part 10.
     X Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used     Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value         debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
        285 Madison Ave., 24th Fl., New York, NY
    55.1________________________________________                 Lease
                                                            _________________     $_______________     ____________________       0.00
                                                                                                                                 $_____________________

        161 Old Mamaroneck Rd., White Plains, NY
    55.2________________________________________            _________________     $_______________     ____________________       0.00
                                                                                                                                 $_____________________

    55.3________________________________________            _________________     $_______________     ____________________      $_____________________

    55.4________________________________________            _________________     $_______________     ____________________      $_____________________

    55.5________________________________________            _________________     $_______________     ____________________      $_____________________

    55.6________________________________________            _________________     $_______________     ____________________      $_____________________


56. Total of Part 9.
                                                                                                                                  0.00
                                                                                                                                 $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
     X No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    X No

           Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
       No. Go to Part 11.
     X Yes. Fill in the information below.

      General description                                                         Net book value of    Valuation method          Current value of
                                                                                  debtor's interest    used for current value    debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________    ______________________   $____________________

61. Internet domain names and websites
    http://www.greylockcapital.com
    ______________________________________________________________                $_________________    ______________________      0.00
                                                                                                                                  $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________    ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________    ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________    _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________    _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   0.00
                                                                                                                                 $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets       Real and Personal Property                         page 6
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                                                                                    Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    X    No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    X    No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    X No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
     X   Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________     $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________     $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________     $_____________________

73. Interests in insurance policies or annuities
    Whole life insurance policy--cash surrender value
    ______________________________________________________________                                                                   305,000.00
                                                                                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                 $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                 $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                  $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   100%  of each of Greylock Capital Management, LLC (GCM); Greylock Capital Financial Advisors, LLC (of which GFCA
   ____________________________________________________________                                                                      350,000.00
                                                                                                                                   $_____________________
   Securities LLC is a wholly-owned subsidiary); and Greylock Capital Advisers, LLC. In addition, GCM owns LP interests in
   ____________________________________________________________                                                                    $_____________________
   Greylock Global Opportunity Fund, LP, a fund it manages.
78. Total of Part 11.
                                                                                                                                    655,000.00
                                                                                                                                   $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    X No
         Yes

Official Form 206A/B                                        Schedule A/B: Assets        Real and Personal Property                             page 7
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                  _______________________________________________________                      19                               21-22063
                                                                                                         Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                                 Current value of                      Current value
                                                                                                        personal property                     of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                      518,984.36
                                                                                                           $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                          456,003.75
                                                                                                           $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                             $_______________
                                                                                                            0


83. Investments. Copy line 17, Part 4.                                                                      0
                                                                                                           $_______________

84. Inventory. Copy line 23, Part 5.                                                                        0
                                                                                                           $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                0
                                                                                                           $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                            56,202.93
                                                                                                           $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                               0
                                                                                                           $_______________


88. Real property. Copy line 56, Part 9. . .....................................................................................                0.00
                                                                                                                                              $________________

89. Intangibles and intellectual property. Copy line 66, Part 10.                                            0
                                                                                                           $_______________


90. All other assets. Copy line 78, Part 11.                                                          +      655,000.00
                                                                                                           $_______________


91. Total. Add lines 80 through 90 for each column. ............................ 91a.                       1,686,191.04
                                                                                                           $_______________        +   91b.
                                                                                                                                               0.00
                                                                                                                                              $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................     1,686,191.04
                                                                                                                                                                  $__________________




Official Form 206A/B                                                        Schedule A/B: Assets                 Real and Personal Property                               page 8
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  Fill in this information to identify the case:

              Greylock Capital Associates, LLC
  Debtor name __________________________________________________________________
                                               Southern
  United States Bankruptcy Court for the: ______________________             New York
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      21-22063
                               _________________________
                                                                                                                                                         Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
    X No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                    No
     _________________________________________
                                                                    Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                    No
    Last 4 digits of account
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   ___ ___ ___ ___
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
       No                                                           Contingent
       Yes. Specify each creditor, including this creditor,         Unliquidated
            and its relative priority.                              Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                    No
     _________________________________________
                                                                    Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                    No
    Last 4 digits of account
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   ___ ___ ___ ___

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

       No                                                           Contingent
       Yes. Have you already specified the relative                 Unliquidated
            priority?                                               Disputed
            No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                         1
                                                                                                                                                           page 1 of ___
             21-22063               Doc 3           Filed 01/31/21                  Entered 01/31/21 23:32:01                  Main Document              Pg
   Fill in this information to identify the case:                                     11 of 19

   Debtor           Greylock Capital Associates, LLC
                    __________________________________________________________________

                                                Southern
   United States Bankruptcy Court for the: ______________________             New York
                                                                  District of __________
                                                                                              (State)
   Case number       21-22063
                     ___________________________________________
    (If known)

                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     X No. Go to Part 2.
         Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                               Contingent
                                                                              Unliquidated
    ___________________________________________                               Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                                No
                                                                               Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                               Contingent
                                                                              Unliquidated
    ___________________________________________                               Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                                No
                                                                               Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                               Contingent
                                                                              Unliquidated
    ___________________________________________                               Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                                No
                                                                               Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
                                                                                                                                                                  5
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  Debtor       _______________________________________________________                Case number (if known)_____________________________________
               Name                                                    12 of 19
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                             26,340.06
                                                                                                                           $________________________________
    Eze Castle Integration
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    100 High Street, 16th Floor
    ____________________________________________________________               Disputed
    Boston, MA 02110
    ____________________________________________________________
                                                                                                Service contract
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           X No
    Last 4 digits of account number             L ___
                                               ___ 0 ___
                                                      0 ___
                                                         1                     Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            36,000.00
                                                                                                                           $________________________________
    Eze Castle Software LLC
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    12 Farnsworth Street, 6th Floor
    ____________________________________________________________               Disputed
    Boston, MA 02110
    ____________________________________________________________
                                                                                                Service contract
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred           10/01/2020-01/31/2021
                                              ___________________          Is the claim subject to offset?
                                                                           X No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            17,802.87
                                                                                                                           $________________________________
    Indus Valley Partners Corporation
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    1350 Broadway, Suite 601
    ____________________________________________________________               Disputed
    New York, NY 10018
    ____________________________________________________________
                                                                                                Service contract
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            08/01/2020-01/31/2021
                                               ___________________         Is the claim subject to offset?
                                                                           X No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             200,000.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    John Maguire
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    40 Central Park South, Apt. 7F
    ____________________________________________________________               Disputed
    New York, NY 10019
    ____________________________________________________________
                                                                                                Contract
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred           12/31/2018; 12/31/2019
                                              ___________________          Is the claim subject to offset?
                                                                           X No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            12,270.00
                                                                                                                           $________________________________
    LTS Management, LLC
    ____________________________________________________________
                                                                               Contingent
    1011 Avenue of the Americas, 4th Floor                                     Unliquidated
    ____________________________________________________________
                                                                               Disputed
    New York, NY 10018
    ____________________________________________________________
                                                                                                Contract
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            01/27/2021
                                               ___________________         Is the claim subject to offset?
                                                                           X No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             9,077.25
                                                                                                                           $________________________________
    NYC Department of Finance                                    Check all that apply.
    ____________________________________________________________
                                                                               Contingent
    59 Maiden Lane, 19th Floor                                                 Unliquidated
    ____________________________________________________________
                                                                               Disputed
    New York, NY 10038-4502
    ____________________________________________________________
                                                                                                Commercial rent tax
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            09/01/2020-11/30/2020
                                               ___________________         Is the claim subject to offset?
                                                                           X No
    Last 4 digits of account number             7 ___
                                               ___ 0 ___
                                                      0 ___
                                                         2                     Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                               13 of 19
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                            478,192.52
                                                                                                                     $________________________________
     Paxstone Capital Europe LLP
     ___________________________________________________________         Contingent
                                                                         Unliquidated
                                                                         Disputed
     80-83 Long Lane
     ___________________________________________________________         Liquidated and neither contingent nor
     London EC1A 9ET United Kingdom
     ___________________________________________________________         disputed

                                                                     Basis for the claim: Placement agency contract
                                                                                          ________________________

     Date or dates debt was incurred         10/31/2019-12/31/2020
                                             ___________________   Is the claim subject to offset?
                                                                   X No
     Last 4 digits of account number         ___ ___ ___ ___             Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                            1,160.00
                                                                                                                     $________________________________
     Hudson Fiber Network
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
     12 North State Route 17, Suite 120
     ___________________________________________________________ X       Disputed
     Paramus, NJ 07652
     ___________________________________________________________
                                                                     Basis for the claim: Monthly charge under terminated contract
                                                                                          ________________________

     Date or dates debt was incurred         01/29/2021
                                             ___________________     Is the claim subject to offset?
                                                                     X No
     Last 4 digits of account number         ___ ___ ___ ___             Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      44,820.00
                                                                                                                     $________________________________
      PriceWaterhouseCoopers LLP
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
      P.O. Box 7247-8001
     ___________________________________________________________         Disputed
     Philadelphia, PA 19170-8001
     ___________________________________________________________
                                                                     Basis for the claim: Services contract
                                                                                          ________________________

     Date or dates debt was incurred         09/01/2020-01/31/2021 Is the claim subject to offset?
                                             ___________________
                                                                    X No
     Last 4 digits of account number          5 ___
                                             ___  3 ___
                                                     3 ___
                                                         7              Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
     ___________________________________________________________         Disputed
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                         No
     Last 4 digits of account number         ___ ___ ___ ___             Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
     ___________________________________________________________         Disputed
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                         No
     Last 4 digits of account number         ___ ___ ___ ___             Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 3 of ___
                                                                                                                                            page __    5
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     Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                     Name                                                                14 of 19
Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                                         On which line in Part 1 or Part 2 is the    Last 4 digits of
                                                                                                               related creditor (if any) listed?           account number, if
                                                                                                                                                           any

4.1.      Internal Revenue Service                                                                             Line _____
         ___________________________________________________________________________________________________

          P.O. Box 7346
         _________________________________________________________________                                     X                        For notice only
                                                                                                                    Not listed. Explain ________________   ___ ___ ___ ___

          Philadelphia, PA 19101-7346
         _________________________________________________________________                                         _________________________________

4.2.      NYC Department of Finance
         ___________________________________________________________________________________________________
                                                                                                               Line 3.6
                                                                                                                    _____

          Office of Legal Affairs
         _________________________________________________________________                                          Not listed. Explain ________________    7 ___
                                                                                                                                                           ___ 0 ___
                                                                                                                                                                  0 ___
                                                                                                                                                                     2

          375 Pearl Street, 30th Floor, New York, NY 10038
         _________________________________________________________________                                         _________________________________

4.3.      NYS Department of Taxation and Finance
         ___________________________________________________________________________________________________
                                                                                                               Line _____

          Bankruptcy Unit - TCD, Building 8, Room 455
         _________________________________________________________________                                     X    Not listed. Explain For notice only
                                                                                                                                        ________________   ___ ___ ___ ___

          W.A. Harriman State Campus, Albany, NY 12227
         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____
         ___________________________________________________________________________________________________
                                                                                                                    Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __
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 Debtor        _______________________________________________________        Case number (if known)_____________________________________
               Name                                            15 of 19
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                          Total of claim amounts



5a. Total claims from Part 1                                                                  5a.           0.00
                                                                                                          $_____________________________




5b. Total claims from Part 2                                                                  5b.    +      825,662.70
                                                                                                          $_____________________________




5c. Total of Parts 1 and 2                                                                                 825,662.70
                                                                                               5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                         5 of ___
                                                                                                                                   page __    5
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                                                                      16 of 19
 Fill in this information to identify the case:

             Greylock Capital Associates, LLC
 Debtor name __________________________________________________________________


                                              Southern
 United States Bankruptcy Court for the:______________________ District of New York
                                                                           _______
                                                                             (State)
 Case number (If known):    21-22063
                            _________________________                        11
                                                                    Chapter _____



                                                                                                                                          Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       Nonresidential real property lease
                                          ____________________________________            285 Madison Owner LLC
                                                                                          _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________            c/o RFR Holding LLC
                                                                                         _________________________________________________________

                                                                                          390 Park Avenue, 3rd Floor
                                                                                          _________________________________________________________
         State the term remaining        Lease term ends: July 31, 2025
                                         ____________________________________
                                                                                          New York, NY 10022
                                                                                          _________________________________________________________
         List the contract number of
                                         ____________________________________            _________________________________________________________
         any government contract


         State what the contract or       Service contract
                                          ____________________________________            Beneflex, Inc.
                                                                                          _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________           77 Brant Avenue, #206
                                                                                         _________________________________________________________
                                                                                          Clark, NJ 07066
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
                                         ____________________________________            _________________________________________________________
         any government contract


         State what the contract or       Service contract
                                          ____________________________________            Eze Castle Integration
                                                                                          _________________________________________________________
 2.3     lease is for and the nature
                                          Multiple SOWs under master agreement
         of the debtor’s interest         ____________________________________           100 High Street, 16th Floor
                                                                                         _________________________________________________________
                                                                                          Boston, MA 02110
                                                                                          _________________________________________________________
         State the term remaining        Expires: Various dates depending on SOW
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
                                         ____________________________________            _________________________________________________________
         any government contract


         State what the contract or       Software license
                                          ____________________________________            Eze Castle Software LLC
                                                                                          _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________           c/o Eze Software Group, LLC
                                                                                         _________________________________________________________
                                                                                          12 Farnsworth Street, 6th Floor
                                                                                          _________________________________________________________
         State the term remaining        Expires: March 31, 2021
                                         ____________________________________
                                                                                          Boston, MA 02210
                                                                                          _________________________________________________________
         List the contract number of
                                         ____________________________________            _________________________________________________________
         any government contract


         State what the contract or       Software license
                                          ____________________________________            Indus Valley Partners Corporation
                                                                                          _________________________________________________________
 2.5     lease is for and the nature
                                                                                         1350 Broadway, Suite 601
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          New York, NY 10018
                                                                                          _________________________________________________________
         State the term remaining        Expires: July 31, 2023
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
                                         ____________________________________            _________________________________________________________
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       2
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Debtor         Greylock Capital Associates, LLC
               _______________________________________________________                Case number               21-22063
                                                                                                    (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease


         State what the contract or    Service contract
                                       ____________________________________     Interactive Communication Concepts
                                                                                _________________________________________________________
   6
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     519 Eighth Avenue, 4th Floor
                                                                                _________________________________________________________
                                                                                New York, NY 10018
                                                                                _________________________________________________________
         State the term remaining       Expires: May 31, 2021
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract


         State what the contract or     Service contract
                                       ____________________________________     JP McHale Pest Management LLC
                                                                                _________________________________________________________
   7
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________      241 Bleakley Avenue
                                                                                _________________________________________________________
                                                                                Buchanan, NY 10511
                                                                                _________________________________________________________
         State the term remaining       Expires: September 30, 2021
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract


         State what the contract or     Service contract
                                       ____________________________________     Penguin Air Conditioning Corp.
                                                                                _________________________________________________________
   8
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________      5 Penn Plaza, 16th Floor
                                                                                _________________________________________________________
                                                                                New York, NY 10001
                                                                                _________________________________________________________
         State the term remaining       Expires: February 28, 2021
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract

         State what the contract or    Service contract
                                       ____________________________________     Perfect Building Maintenance
                                                                                _________________________________________________________
   9
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     405 Lexington Avenue
                                                                                _________________________________________________________
                                                                                New York, NY 10174
                                                                                _________________________________________________________
         State the term remaining       Expires: August 13, 2021
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract


         State what the contract or    Service contract
                                       ____________________________________     PriceWaterhouseCoopers LLP
                                                                                _________________________________________________________
   10
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     P.O. Box 7247-8001
                                                                                _________________________________________________________
                                                                                Philadelphia, PA 19170-8001
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract

         State what the contract or    Service contract
                                       ____________________________________     Thomson Reuters
                                                                                _________________________________________________________
  11
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     610 Opperman Drive, D6-12
                                                                                _________________________________________________________
                                                                                Eagan, MN 55123
                                                                                _________________________________________________________
         State the term remaining       Expires: February 28, 2023
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract

         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
                                       ____________________________________     _________________________________________________________
         any government contract



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                     page ___
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                                                                        18 of 19
 Fill in this information to identify the case:

             Greylock Capital Associates, LLC
 Debtor name __________________________________________________________________

                                              Southern
 United States Bankruptcy Court for the:_______________________             New York
                                                                District of ________
                                                                                (State)
 Case number (If known):    21-22063
                            _________________________




                                                                                                                                             Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       X No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1     _____________________        ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.2
         _____________________        ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.3
         _____________________        ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.4
         _____________________        ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.5
         _____________________        ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.6
         _____________________        ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                          page 1 of ___
         21-22063              Doc 3        Filed 01/31/21         Entered 01/31/21 23:32:01                          Main Document         Pg
                                                                     19 of 19
 Fill in this information to identify the case and this filing:


              Greylock Capital Associates, LLC
 Debtor Name __________________________________________________________________

                                               Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         X    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         X    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         X    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         X    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         X    Schedule H: Codebtors (Official Form 206H)
         X    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    01/31/2021
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                David Steltzer
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
